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STEPTOE &JOHNSONt

ATTORNEYS AT LAW

Reid H. Weingarten 1330 Connecticut Avenue, NW
202.429.6238 Washington. DC 20036-1795
rweingarten@steptoe.com Tel 202.429.3000
Fax 202.429.3902
steptoe.com
October 27, 2006
UNITED STATES GOURTS
Via U.S. Mail SOUTHERN DISTRICT OF TEXAS
FILED
Ms. Gail Winkler OCT § 1 2006
United States Probation Officer
United States District Court MICHAEL N. MILBY, CLERK OF COURT
Post Office Box 61207
Houston, TX 77208

Re: Richard A. Causey’s Response to the Initial Presentence Investigation
Report, U.S. v. Causey, H-04-25 (Lake, J.)

Dear Ms. Winkler:

I am writing in response to the initial Presentence Investigation Report (“PSR”)
that you prepared for the Honorable Sim Lake, United States District Judge, in anticipation of
Richard A. Causey’s sentencing in the above-referenced matter. Criminal Local Rule 32.6
affords Mr. Causey the opportunity to object and propose changes to the facts of the offense as
reported in the PSR as well as to the interpretation and application of the sentencing guidelines.

The bulk of the PSR is devoted to the Offense Conduct section, which details the
Enron Task Force’s overarching case against Enron’s former executives and goes well beyond

the crime to which Mr. Causey pleaded guilty. For this reason, we request that you replace this

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section with the facts contained in Exhibit A to Mr. Causey’s plea agreement, which contains the
factual basis for Mr. Causey’s guilty plea.

To the extent that you decide to include the Offense Section to the PSR as
currently drafted, we do not formally object or otherwise propose changes for the following
reasons. First, an informed analysis of the conduct discussed in the PSR is not possible because
most of the factual assertions are based on information to which Mr. Causey does not have
access, including your office’s discussions with government attorneys and FBI agents, trial
transcripts, and memoranda of government interviews with various witnesses. Second, Mr.
Causey has accepted responsibility for his conduct, pleaded guilty to one count of securities
fraud and admitted to the facts contained in his Rule 11(c) plea agreement. According to his plea
agreement, Mr. Causey and the Task Force have agreed to recommend that the Court sentence
Mr. Causey to a term of imprisonment of between 60 and 84 months. Thus, we believe that the
facts to which Mr. Causey has already admitted and the parties’ sentencing recommendation
establish a sufficient basis upon which the Court can properly determine Mr. Causey’s sentence.

Please do not hesitate to contact me if you have any questions concerning this

matter.

Sincerely,
Reid H. Weingarten 9 DC

cc: Sean Berkowitz — Enron Task Force
Kathryn Ruemmler -- Enron Task Force
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CERTIFICATE OF SERVICE

This is to verify that a true and correct copy of Richard A. Causey’s Response to the
Initial Presentence Investigation Report has been served on this 27th day of October, 2006, on

counsel listed below.

 

David M-Fragale

Sean Berkowitz

Kathryn Ruemmler

Enron Task Force

DOJ Criminal Division

1400 New York Avenue, NW
10th Floor

Washington, D.C. 20530
